    Case 1:18-mj-00528-TCB Document 1 Filed 11/01/18 Page 1 of 3 PageID# 1


                                                                                      FILED
                    IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA

                                                                                IM
                                        Alexandria Division



UNITED STATES OF AMERICA


               V.                                         Docket No. 1:1


JABRIAN.PETERSON,                                         Initial Appearance: December 3,2018

               Defendant.




                                  CRIMINAL INFORMATION


                          COUNT I -(Misdemeanor-7087535/EV-17)


THE UNITED STATES ATTORNEY CHARGES THAT:

On or about August 31,2018 at Fort Myer, Virginia, within the special maritime and territorial

jurisdiction ofthe United States in the Eastern District of Virginia, the defendant JABRIA N.

PETERSON did forcibly assault, resist, oppose, impede, intimidate and interfere with Specialist

Jordan M. Williams, a federal employee and military police officer ofthe Joint Base Myer-

Henderson Hall Directorate of Emergency Services and 289"' Military Police Company, who was

then in the performance of his official duties, to wit: attempting to strike Specialist Williams with

her moving vehicle and then fleeing from the scene.



(In violation of Title 18 United States Code Section 111.)
Case 1:18-mj-00528-TCB Document 1 Filed 11/01/18 Page 2 of 3 PageID# 2
Case 1:18-mj-00528-TCB Document 1 Filed 11/01/18 Page 3 of 3 PageID# 3
